Case 1:18-cv-00950-PTG-JFA Document 473-16 Filed 10/21/19 Page 1 of 7 PageID# 20591




                            Exhibit 13
Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 2 of
                                                                1 of   7 PageID#
                                                                     6 PageID#   20592
                                                                               25784



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division


      BMG RIGHTS MANAGEMENT(US)
      LLC,et al.
                                                                 Civil No. l:14-cv-1611
                             Plaintiffs^
                                                                 Hon. Liam O'Grady
      COX ENTERPRISES,INC. et al.

                             Defendants.


                                                ORDER


          This matter comes before the Court on Defendant Cox's Motion to Reconsider the

   Court's Order Granting Plaintiffs' Motion in Limine No. 3(Dkt. 928)and Motion for a Pre-trial

   Instruction Regarding the Import of Testimony Concerning the Digital Millennium Copyright

   Act(Dkt. 938). For the reasons explained below, both motions are DENIED.

             I.   Motion to Reconsider

          Cox moves for reconsideration ofthe Court's ruling on Motion in Limine No. 3, which

   prohibited Cox and its experts from referring to the Copyright Alert System(CAS)and the

   practices of other internet service providers(ISPs)in responding to copyright infringement

   notices. Cox argues that "evidence ofthe industry-designed CAS system and Cox's discussions

   with industry goes directly to their effect on Cox's practices and its state ofmind'' and that "the

   proposed evidence is probative of what Cox believed were reasonable measures to take in

   response to notices of infringement." Dkt. 933 at 2,4. Specifically, Cox seeks to have Matthew

   Carothers testify that "companies within the ISP industry ... regularly exchange best practices

   and, around 2010,the industry began discussing CAS as an approach to combating copyright


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Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 3 of
                                                                2 of   7 PageID#
                                                                     6 PageID#   20593
                                                                               25785
Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 4 of
                                                                3 of   7 PageID#
                                                                     6 PageID#   20594
                                                                               25786
Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 5 of
                                                                4 of   7 PageID#
                                                                     6 PageID#   20595
                                                                               25787
Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 6 of
                                                                5 of   7 PageID#
                                                                     6 PageID#   20596
                                                                               25788
Case 1:18-cv-00950-PTG-JFA
  Case 1:14-cv-01611-LO-JFA Document
                             Document473-16  Filed
                                      998 Filed    10/21/19Page
                                                 08/09/18    Page 7 of
                                                                6 of   7 PageID#
                                                                     6 PageID#   20597
                                                                               25789
